
By the Court.
-The state of demand goes for double damages, which the plaintiff is not intitled to in case of damage done by horses and cattle; but as only single damages were recovered, it might excite a struggle to get over *490this defect in the state of demand. But this would not avail. In case of damage done by horses, cattle, and sheep, if the party intends to recover under the act regulating fences, and to give in evidence the appraisement, he must show in his state of demand, that the act lias been pursued; that his fence was lawful; that the horses, &amp;c. got over, crept through, or broke down the fence, and did damage, and that the appraisers were chosen as the act directs.* No part of this has been done. The action cannot be supported on this state of demand. Judgment reversed.

 See Pat. 338, Sec. 12. Rev. i,, 391.

